         Case 4:21-cv-00450-JM Document 11 Filed 06/15/21 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

DYLAN BRANDT, et al.,                                                 PLAINTIFFS

v.                              Case No. 4:21-CV-00450-JM

LESLIE RUTLEDGE, et al.,                                           DEFENDANTS

      PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
            Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs hereby move

the Court to enter a preliminary injunction that restrains Defendants and successors

in office from enforcing any provision of House Bill 1570, Act 626 of the 93rd

General Assembly of Arkansas, to be codified at ARK. CODE ANN. §§ 20-9-1501 to

20-9-1504 and 23-79-164, during the pendency of this litigation.

            In support of this Motion, Plaintiffs submit the following:

                • Exhibit 1 - Declaration of Dylan Brandt in Support of Plaintiffs’

                   Motion for a Preliminary Injunction;

                • Exhibit 2 - Declaration of Joanna Brandt in Support of Plaintiffs’

                   Motion for a Preliminary Injunction;

                • Exhibit 3 - Declaration of Sabrina Jennen in Support of

                   Plaintiffs’ Motion for a Preliminary Injunction;




                                        -1-
Case 4:21-cv-00450-JM Document 11 Filed 06/15/21 Page 2 of 4




      • Exhibit 4 - Declaration of Aaron and Lacey Jennen in Support of

         Plaintiffs’ Motion for a Preliminary Injunction;

      • Exhibit 5 - Declaration of Brooke Dennis in Support of Plaintiffs’

         Motion for a Preliminary Injunction;

      • Exhibit 6 - Declaration of Shayne and Amanda Dennis in Support

         of Plaintiffs’ Motion for a Preliminary Injunction;

      • Exhibit 7 - Declaration of Parker Saxton in Support of Plaintiffs’

         Motion for a Preliminary Injunction;

      • Exhibit 8 - Declaration of Donnie Saxton in Support of Plaintiffs’

         Motion for a Preliminary Injunction;

      • Exhibit 9 - Declaration of Dr. Michele Hutchison in Support of

         Plaintiffs’ Motion for a Preliminary Injunction;

      • Exhibit 10 - Declaration of Dr. Kathryn Stambough in Support

         of Plaintiffs’ Motion for a Preliminary Injunction;

      • Exhibit 11 - Declaration of Dr. Deanna Adkins in Support of

         Plaintiffs’ Motion for a Preliminary Injunction;

      • Exhibit 12 - Declaration of Dr. Armand H. Matheny Antommaria

         in Support of Plaintiffs’ Motion for a Preliminary Injunction; and

      • Memorandum of Law in Support of Plaintiffs’ Motion for a

         Preliminary Injunction.

                              -2-
         Case 4:21-cv-00450-JM Document 11 Filed 06/15/21 Page 3 of 4




             Plaintiffs’ Memorandum of Law in Support of the Motion demonstrates

that Plaintiffs are likely to prevail on the merits of their claims, a preliminary

injunction is necessary to prevent irreparable harm to Plaintiffs, and such a

preliminary injunction is in the public interest.


 Dated: June 15, 2021                      Respectfully submitted,

 /s/ Leslie Cooper
 Leslie Cooper                             Beth Echols, Ark. Bar No. 2002203
 Chase Strangio*                           Christopher Travis, Ark. Bar No. 97093
 American Civil Liberties Union            Drake Mann, Ark. Bar No. 87108
 Foundation                                Gill Ragon Owen, P.A.
 125 Broad St.                             425 W. Capitol Ave., Suite 3800
 New York, NY 10004                        Little Rock, AR 72201
 Telephone: (917) 345-1742                 Telephone: (501) 376-3800
 lcooper@aclu.org                          echols@gill-law.com
 cstrangio@aclu.org                        travis@gill-law.com
 Attorneys for the Plaintiffs              mann@gill-law.com
                                           Attorneys for the Plaintiffs


 Breean Walas, Ark. Bar No. 2006077        Sarah Everett, Ark. Bar No. 2017249
 Walas Law Firm, PLLC                      Arkansas Civil Liberties Union
 P.O. Box 4591                             Foundation, Inc.
 Bozeman, MT 59772                         904 W. 2nd St.
 Telephone: (501) 246-1067                 Little Rock, AR 72201
 breean@walaslawfirm.com                   Telephone: (501) 374-2842
 Attorneys for the Plaintiffs              sarah@acluarkansas.org
                                           Attorneys for the Plaintiffs




                                          -3-
        Case 4:21-cv-00450-JM Document 11 Filed 06/15/21 Page 4 of 4




Garrard R. Beeney*                   Laura Kabler Oswell*
Jonathan J. Ossip*                   Duncan C. Simpson LaGoy*
Alexander S. Holland*                Sullivan & Cromwell LLP
Sullivan & Cromwell LLP              1870 Embarcadero Rd.
125 Broad St.                        Palo Alto, CA 94303
New York, NY 10004                   Telephone: (650) 461-5600
Telephone: (212) 558-4000            oswell@sullcrom.com
beeneyg@sullcrom.com                 simpsond@sullcrom.com
ossipj@sullcrom.com                  Attorneys for the Plaintiffs
hollanda@sullcrom.com
Attorneys for the Plaintiffs

*Admitted pro hac vice




                                    -4-
